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                           UMTED STATES BAIIKRUPTCY COURT                           .*.;:.
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                                                                                             FI LHP            ta':



                             DISTRICT OF SOUTH CAROLINA                        at   JO 'clocn &Jlmln + M
                                   (CHARLESTON DIVTSTON)
                                                                                             .ll,$l i B ?$?5
                                                 CASE NO.:25-01384-JD           united srateE Bankruptey edurt
                                                 CHAPTER 13                        Gelumbial Ssuth Garolina
IN RE:


Jacqueline Elizabeth Ard and                     NOTICE OF MEDICAL EMERGENCY
                                                 AND EMERGENCY MOTION FOR ADA
Terry Frank Nicola,                              ACCOMMODATIONS, MEDICAL
                           Debtor(s)             PROTECTIONS, INJUNCTIVE RELIEF,
                                                 AND SAI{CTIONS




 Emergency Motion forADAAccommodations, Medical Protectionsr lnjunctive Relief, and
                 Sanctions pursuant to ADA Title II (42 USC 912132)



I. NOTICE OF MEDICAL EMERGENCY

Terry Frank Nicola (Stage 4 Parkinson's):
   .     Medical implants at 12Yo require immediate continuous charging to prevent:

         Cardiac/respiratory failure per physician Dr. Valeria Suski.

   .     Specialized rnedical care needed for Charcot Foot to avoid amputation; canceled

         appointments due to vehicle repossession

Critical Accommodations Required (Per Dr. Suski's Medical Directive):
         . Continuous power for implant charging
         . Service/emotional support animal
         . Mobility scooter for movement
         . Personal assistant for daily care

Jacqueline Elizatreth Ard:

   a     Severed right index finger risk of permanent paralysis; missed therapies due to vehicle

         repossession.
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    a   Permanent paralysis is imminent without treatment by 612312025; cancelled appointments

        due to vehicle repossession.




II. MEDICAL HUMANITARIAN CRISIS

A. Terry Nicola's Critical Conditions

    1. Stage 4 Parkinson's Disease:
           o Requires daily charging of implanted neurostimulators via continuous home
               power.

           o System failure risk: Power loss causes imminent shutdown (coma/death risk).
   2. Bilateral Charcot Foot:
           o 3xlweek wound monitoring to prevent infections leading to amputation.
           o Specialist access: Only viable via personal vehicle (repossessed 6ll0l2A2r.

B. Jacqueline Ard's Catastrophic Injury

   l. Direct Result of Creditor Misconduct:
         o Palmetto Electric's illegal power disconnection caused pernanent riglrt-hand
               paralysis.

   2. Life-Altering Consequences:
           o Zero functional use of dominant hand;
           o Mandatory therapy: 2-3xlweek for any chance of recovery;
           o Inability to work or provide medicai care for Terry Nicola. Medical assistant
              required

III. REQUESTED ADA ACCOMMODATIONS
Pursuant to 42 U.S.C. $ 12132 and Bankruptcy Rule 9029:


   1. Video Conference Hearings: For all proceedings (mobility limitations).
   2. Extended Deadlines: 30-day extensions for filings during medical crises.
   3. Hearing Rescheduling: For urgent medical episodes (Parkinson's complications)-
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   4. Court Aide: Provided for note-taking/real-time transcripts.
   5. Court-Appointed Attorney: Due to cognitive impairments (Parkinson's).
   6. Flexible Arrival Times: +60 minutes for court appearances.


III. DEMANDED INJUNCTIVE RELIEF AGAINST DEFENDANTS

TMMEDTATE ACTTONS REQUTRED (WrTHrN 2 HOURS OF ORDER)

Defendant                      Action

West-Aircomm/Eagle             Return Terry's 2018 Jeep Grand Cherokee (transportation to
Recovery                       mandatory appt for specialized care)

TitleMax                       Return Jacqueline's 2017 Hyundai Elantra ftand therapy transport)

Palmetto Electric              Restore continuous power * waive fees

All Creditors                  Cease harassment, calls, collection of debt, mail



ASSET RETURN & COMPLIANCE

   .   Estate at Westbury: Restore gate access/parking passes. Cease harassment and refrain
       from any activity interfering with Debtors' ability to reorganize. Cancel Lis Pendens
   .   The Spa on Port Royal Sound: Cease harassment and refrain from any activity
       interfering with Debtors' ability to reorganize. Cancel Lis Pendens
   .   Hilton Head Resort: Cease harassment and refrain from any activity interfering with
       Debtors' ability to reorganize. Cancel Lis Pendens
   .   Zeirlman's/Norman's Jewelry: Return seized assets.
   .   Go Store it: Return seized assets. Refrain from any activity interfering with Debtors'
       ability to reorganize
   .   ZeidmanoslNlorman's Jewelry: Return seized assets.
   .   Consumers Enerry / DTE: Restore accounts to activity status. Refiain from any activity
       interfering with Debtors' ability to reorganize
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   a      Polly Nicola: Return all non-DSO funds and any other improperly seized assets



IV. SAT{CTIONS FOR WTLLFUL VIOLATIONS

       L Monetary l)amages:
           o $2500000 actual damages (medical costs)
           o $5001000 punitive damages for disability discrimination
   2. Debt Voidance: Cancel all claims of violating creditors.
   3. Criminal Referrals: For fraudulent repossessions (Eagle Recovery).


V. FACTUAL BASTS FOR EMERGENCY

CRITICAL INCIDENTS

Date            Defendant Violation
                Eagle
06/1012025                          Seized vehicle during Terry's medical transport
                Recovery

                Palmeffo
04/06/2025                          Power cutoff --+ Jacqueline's catastrophic hand injury
                Electric

                Julie Franklin,     Late appearance allowed by court for Juile Franklin; but Debtors
03/26/2025
                Esq.                were denied necessary protection based on a7-min medical delay



DEFENDANTS' PATTERN OF ABUSE

   a     Palmetto Electric/Consumers Energy/DTE: Threatening shutoffs despite medical
         certifications.
   a     Scott Wild, Esq.Ailm Weston J Newton, Esq.: Harassing litigants, tampering with
         f)ebtors mail, and blocking property access.
   a     Hilton Head Resort: Blocking property access.
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VI. LEGAL GROUNDS

      1. ADA Title lI (42 U.S.C. $ 12132): Failure to accommodate disabilities.
      2. Automatic Stay Violations (11 U.S.C. $ 362(aX3)): Seizure of life-sustaining assets.
      3. Fiduciary Breach (11 U.S.C. $ 70a(a)): Trustee ignored medical emergencies.


VIT. RELTET REQUESTED

      I. IMMEDIATE HEARING REQUIRED. TERRY NICOLA'S SURVIVAL DEPENDS
         ON A 72-HOUR WINDOW OF CARtr.
      2. Emergency Hearing TODAY under Fed. R. Bankr. P. 9013(c)(1).
      3. ADA Accommodations Order: Implement Section III immediately.
      4. Temporary Restraining Order:
             o Enforce asset return/power restoration (Section IV).
             o Freeze all creditor actions.
      5. Sanctions: Impose Section V penalties.


Dated: Iune 16,2025
Respectfully submi



                           TH ARD, pro se Debtor
212                Dr
             Michigan 48076
(313) 770-70s1
Email : j acquelinear d7 2@gmarl. com



        4* N/
TERRY FRANK NICOLA,pTo se Co-f)ebtor
21215 Dartmouth Dr
Southfield, Michigan 48A76
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                                                             26000 EVERGREEN
                                                            SOUTHFIELD MI 48037
                                                                248.796.5500




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                                                                              Offenses
   C3355 - Civil Matter - Other [SOKELSEYJ                           3333


   Crime Againsl                                     Location Type                                                    Offense Conrpleted

                                                     20 - Resldence/Home                                              Not Aoollcabls
   Domestic Violence                                 l-late/8ias

   No                                                00 - None No Biae)
   U$,ng                                                                                                              Cargo Thefl

   A-Alcohol: No C-Computer Equlpment: No D-Druos/Narcotlcs: No


                                                                              People:
   ARD, JACQUELTNE ELTZABETH (O-OTHER) (|-PERSON TNTERVTEW) [SOKELSEYJ (13333)]
   PE:        W,Typo: Lasl Name                         First Nanre                                  Middle Name                                Sultix          Mr/Mrs/Ms

                       ARD                              JACQUELINE                                   ELIZABETH
                                                                                                                                               I
  T                                                     I
                                                        I
                                      I


  MART|NEZ, J (O-OTHER) (L-LAW ENFORCEMENT OFFTCER) [SOKELSEYJ (13333)]
  PE:         w,Tvpo   Last Name                        Firsl Nanre                                  Middle Name                                Suffix          Mritv'lrslMs
                                                                                                                                                                soT.
                       MARTINEZ                         J
  DOB (Ase)                     Sex   Race              Ethnrcity              Birlh Cily & Stale    Birlh Co(rntry                   Country of Cilizenship

                                      UNKNOWN
  Slroel nddress                                   Apl #             County                Counlry                    f'lonle Phong                Work Phone

  260t10 Evenrre€n                                                   OAKI-AND              USA
  Cily                                          State              7-ip                Cell Phone                        Email

  Southfield                                    MI                 48037
                                                                          Phone/Emall
                                      Type                                                                                  Doscrlplion

  BU-Buslness Phona #1                                                              248.796.5500

  PENHALLEGON, M (O-OTHER) (L-LAW ENFORCEMENT OFFTCER) ISOKELSEYJ (13333)l
  PE:      W.Type: Lasl Nanre                           First Nanle                                  Middle Name                                Suffix          Mr/Mrs/Ms
                                                                                                                                                                OFFICER
                       PENHATLEGON                      M
  DOB (Aqe)                    Sex    Race              Ethnrcity              Birth City & Stale    Birth Counlry                    Country of Citizenship

                                      UNKNOWN
  Slreet Address                                  Apl #              County                Counlry                    Home Phone                   Work Phone

  26000 Evemreen                                                     OAKI.AND              USA
  City                                          Stato              ztp                 Cell Phone                        Email

  Southlleld                                    MI                 48037
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   KELSEY, J (O-OTHER) (L-LAW ENFORCEMENT OFFTCER) [SOKELSEYJ (13333)]
   PE         W.Type: [.asl Nanrc                               First Namo                                    Middla Nanre                                     Suffix           Mr/Mrs/Ms
                                                                                                                                                                                SPECIATIST
                       KELSEY                                  J
   DOB (Age)                      Sex   Race                   Elhnrcily               Eirth (lily & Slale    Ilirlh Counlry                     Counlry of Citizenship

                                        UNKNOWN
   Slreel Address                                          Apl #           County                   Counlry                    Honre Phone                       Work Phone

   26000 Everoreen                                                         OAKTAND                  USA
   City                                               Stale              zip                    Cell Phone                        Email

   Southfield                                         MI                 ,+8037

                                                                               Phone/Email
                                        Tvpe                                                                                         Description

   BU-Business Phone #1                                                                        248.796.5500

   GRIGSBY, ARLENE FRANCIS (O.OTHER} (X.MISCELLANEOUS) ISOKELSEYJ (13333)I
              w.Tvpo   Lasl Nane                               First Name                                     Middle Nam€                                  Srrffix              tulr/MrslMs

                       GRIGSBY                                 ARLENE                                         FRANCIS
   Aliases                                                         Driver Licenso#                                    Dt, Stale            DL Counlry      Porsonal lD#

                                                                   G621071261229                                      MI
   DOB (Age)                     Sex    Race                   Elhnicity              Birth Cily & Slale      Birlh Country                     Country of Cilizenship

   o3l21l1sil (611               F      BIACIVAFR Unknown
                                        ICAN
                                        AMERICAN
   Complexion                Build                Teelh                              lleight                      Woight          Altire

                                                                                     5'O'                         160
   Streel Address                                       Apl #              Counly                  Counlry                     l-lome Phone                     Work Phone

   21215 DARTMOUTH DR                                                                                                          UNKNOWN
  Cily                                                Slalo             zip                     Cell Phone                        Email

  SOUTHFIELD                                          MI                4807&5634               248632099s

  KlvARl, ALEXANDER MICHAEL (O-OTHER) (X-MTSCELLANEOUS) ISOKELSEYJ (13333)l
  PE;         W.Type: Lasl Nam6                                First Nanre                                   Middlo Name                                   Sriffix              Mr/M,s/Ms

                       KIVARI                                  ALEXANDER                                     MICHAEL




                                                                                     l-                                                                    -




                                                                                    Property
  3501 - Automoblle/CarlVohicle (not Stolen Or Recoveredl 5403 ISOKELSEYJ (13333)l
  Properly Class                                              IBR Type                                                   UCR Type

  03                                                          03 -Automoblles                                            V - OtherVehicle (not Stolen or
                                                                                                                         Recovered)
  Slatus                                                                                                                                        Count                   Value

  l- lnbrmation Only                                                                                                                             1                      I
  Manufacturer                           Model                                             Serial No.                                         Lic€nse No                Color

  JEEP                                   GRAND CHEROKEE                                    1eruFAcsJar7g4os                                  95037                      BLK - Black
  Vohicle Year                           Body Style                                                                             Slale                   Lic€nse Year

                                         4D - 4 Door                                                                            PA

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                                                            Narrative:

                                  Written       : SoKELSEYJ (13333)      Date: 06110/2025 06:38 AM
CR No: 250020295'001

INITIAL

                                                  were dispatched lo 21215 Dartmouth Dr for a
           I (specialist Kelsey) and ofc, Penhallegon
 reported trouble with subject on the above listed
                                                   date ancl time. Dispatch advised the r/p is trying
                                                    trying to drive it off his tow truck'
 to repossess a vehicle and the subjects there are


 INFORMATION


         m ade he S ce ne a nd mad e co ntact W ith th e fe
                                                                mal e h al f of th e clv it ISSU e Arl en e Grig sby
                                                                                                                     to
                                                               K tvan Alexand er cl aime d th at Arle ne tried
 Th e tow truck d ri VC r WAS al SO on sce ne Alexa nder
                                                                                                              b ed nto
 d rive the BLACKI2O 1 BIJ E E P /G RA N D c H
                                                     ERO K E EI P A o 503 7 P D off the tow ift Sh e cli m
                                                           to retri eve her belo ngl n gs a nd d rove off he
 the veh icl e after AI EX a nd e r a g reed to a llow her
                                                                        the tow d river p icked he ca u p
 veh icle ift Arl e ne EX p lai ned that W AS not the ca SE rathe
                                                                                                               to
 tm prop erl v to begi n with a nd S he d id
                                              not try to d rive it off th e ift A le xa nder stated he wished
                                                a S d amage to he veh cl e after bei ng d nve n off
                                                                                                        th e ft.
 h ave a report gen e rate d n ca S e rh e re W

                                                         possessed a valid repossession order for
        Both parties possessed valid orders, Alexander
                                                              bankruptcy paperwork stated
  the Jeep. Arlene had filed for bankruptcy, the non-official
                                                               The bank filed to have the stay lifted
  bankruptcy usuaily grants a stay on debts/repossessions.
                                                                for 06/1812025'
  regarding the car. The hearing to discuss that is scheduled


   DlsPoslTloN

                                                                with officers standing by' Arlene was
        Eventually Alexander was able to repossess the Jeep
                                                   r took photos on scene per Arexanders
                                                                                            request,
   ailowed to gather her berongings from the car.
                                                         axon body camera was activated during my
   although I did not see any damage to the Jeep. My
                                                       parties were given incident numbers and
   time on scene. sgt. Martinez was on scene. Both
                                                      photos and entered the sD card containing them
   advised of the civir matter. I uproaded the scene
   into BEAST.


                                     Written       SoKELSEYJ (1            Date: 06114/2025 02:43 AM
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   INFORMATION


              I (Specialist Kelsey) responded lo 21215 Darthmouth Dr for a reported civil issue on
   0611012025. I completed a report for that incident after clearing the scene.


              I was later notified that Arlene Grigsby was not on scene at the time of dispatch nor did she
   speak with Officers. A miscommunication between Officers resulted in Arlene being added to the
   report as one of the parties involved in the civil issue. After communicating further with Ofc.
   Penhallegon, the woman on scene who spoke with Officers and was involved in the incident has
   been identified as Jaqueline Elizabeth Ard DOB:0312511975. Jaqueline is the sister of Arlene.
   Arlene registers to the address where the incident occurred. Jaqueline and Arlene have similar
   physical characteristics. Jaqueline returns               inl
                                                      out of south carolina



   DtsPostTroN

            Jaqueline has been added to the report, her phone number along with Arlene's have been
   updated to available current information. I attempted phone contact several times with Arlene
   and was unable to reach her.




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